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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

PETER PILARSKI, individually and                          )
on behalf of similar situated persons                     )
                                                          )
            Plaintiff,                                    )      Case No. 17-cv-08659
vs.                                                       )
                                                          )
RENT RECOVER OF BETTER NOI LLC,                           )
later incorporated as RENT RECOVER, LLC,                  )
and BETTER NOI, LLC                                       )      Hon. Rebecca Pallmeyer
                                                          )
            Defendants.                                   )
                                                          )

              DEFENDANT BETTER NOI’S MOTION FOR PROTECTIVE ORDER

            NOW COMES the Defendant, Better NOI, LLC (“Better NOI”) by and through its

attorneys, Messer Strickler, Ltd., and hereby files this Motion for Protective Order and states as

follows:

      I.        A PROTECTIVE ORDER IS NEEDED IN THIS CASE

                Defendant Better NOI files this Motion to:

                    (1) For the reasons explained in more detail below Defendant files this Motion to

                         protect Defendant from testifying to certain topics included in the Notice of

                         Depositions of Timothy Fortner and Better NOI’s Rule 30(b)(6) representative.

      II.       BACKGROUND

            On November 30, 2017, Plaintiff filed this instant action, on behalf of himself and a class

of similarly situated persons, alleging violations of the Fair Debt Collection Practices Act

(“FDCPA) and the Michigan Occupation Code (“M.O.C.”). Specifically, Plaintiff alleges that on

March 3, 2015, he entered into a written Apartment Lease to rent an apartment at Harbour Club

Apartments (hereinafter “Landlord”). See, D.E. 31, Plaintiff’s Amended Complaint, ¶35. Plaintiff

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alleges he experienced financial hardship once his employer stopped paying employees of the

company, including Plaintiff’s wages and medical insurance. Id. at ¶39. As a result, on October

31, 2016, Plaintiff filed a Chapter 7 bankruptcy in the Eastern District of Michigan. Id. at ¶40.

Plaintiff alleges that notice of Plaintiff’s bankruptcy filing was sent to Plaintiff’s creditors,

including Rent Recover, for collection. Id. at ¶41. Rent Recover sent a letter to Plaintiff on January

17, 2017. Id. at ¶43. Plaintiff alleges that at the bottom of the January 17, 2017 correspondence it

stated that his account will accrue interest at a rate of 7.00 percent per annum and that this statement

appears to be a standard statement made by Rent Recover in letters sent to debtors in the State of

Michigan. Id. at ¶¶44-45. Plaintiff alleges that his contract with the Landlord and the putative

class members’ contracts with their landlords do not include a clause that unpaid amounts will

accrue interest at a rate of 7.00 percent annum. Id. at ¶51. As such, Plaintiff claims that because

Defendant added interest to the amount owed to the Landlord, which was allegedly not permitted

by agreement or law, that Defendant was in violation of 15 U.S.C. §§1692e, f, and f (1) as well as

MCL §§339.915a, e, f(ii) and MCL §§ 445.252(a), (e), (f)(ii).

       On June 5, 2018, Rent Recover was terminated with the Illinois Secretary of State. See,

https://www.ilsos.gov/corporatellc/CorporateLlcController (last visited August 2, 2018). On July

12, 2018, Plaintiff filed an Amended Complaint adding Defendant Better NOI. Defendant Better

NOI filed a Motion to Dismiss arguing that Plaintiff failed to allege a factual basis for piercing the

corporate veil and finding Better NOI liable for the actions of Rent Recover. In his brief in

opposition to the Motion to Dismiss, Plaintiff specifically disavowed the notion that he was

seeking liability against Better NOI by piercing the corporate veil, stating that the Seventh Circuit

applies an agency analysis and the requirement of piercing the corporate veil is “meritless.” See,

D.E. 40, p. 5. Instead, Plaintiff argued that Better NOI, LLC was liable under the Seventh Circuit’s



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Janetos decision, which applied an agency analysis to find the principal liable for the acts of its

collection agent. Janetos v. Fulton Friedman & Gullace, LLC, 825 F.3d 317, 325-26 (7th Cir.

2016). The Seventh Circuit stated, “a debt collector who is independently obliged to comply with

the [FDCPA]” is required “to monitor the actions of those it enlists to collect on its behalf.” Id. at

325. Thus, Plaintiff’s claims against Better NOI rests on whether Better NOI is considered a “debt

collector” as that term is defined under the FDCPA. However, in his Notice of Deposition

(attached hereto as Exhibit A), Plaintiff includes several topics which would illicit information

irrelevant in determining whether Better NOI is considered a debt collector under the FDCPA.

Instead, these topics target the veil piercing theory of liability which Plaintiff has specifically

disavowed. Counsel for Plaintiff and Defendant conducted a meet and confer telephone call on

October 2, 2018 but were unable to resolve all of Defendant’s objections. As such, and based on

the foregoing, Defendant Better NOI seeks a protective order from this Court to prevent Defendant

Better NOI’s Rule 30(b)(6) representative from testifying to such irrelevant topics.

   III.      ARGUMENT

          Upon receiving a deposition notice that describes "with reasonable particularity the matters

on which examination is requested, [an] organization . . . shall designate one or more officers,

directors, or managing agents, or other persons who consent to testify on its behalf, and may set

forth, for each person designated, the matters on which the person will testify." Rule 30(b)(6);

United States Equal Employment Opportunity Commission v. Source One Staffing, Inc., 2013 U.S.

Dist. LEXIS 361 (N.D. Ill. Jan. 2, 2013). The requesting party must take care to designate, with

painstaking specificity, the particular subject areas that are intended to be questioned, and that are

relevant to the issues in dispute. Kalis v. Colgate-Palmolive Co., 231 F.3d 1049, 1057 (7th Cir.

2000). Rule 30(b)(6) only requires a corporate witness to “testify about information known or



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reasonably available to the organization,” not to arm its witnesses with information outside of its

corporate knowledge. Snyder v. City of Chicago, 2016 U.S. Dist. LEXIS 167239, at *7 (N.D. Ill.

Dec. 5, 2016). Furthermore, Rule 30(b)(6) discovery, like all discovery, must be relevant to a

party’s claim or defense. Id. (citing F.R.C.P. 26(b)). For good cause shown, a court may enter a

protective order to forbid the testimony or discovery based upon relevancy or materiality. See,

F.R.C.P. 26(c); see also F.R.C.P. 34(d).

       Several of Plaintiff’s proposed deposition topics show that Plaintiff intends to question

Better NOI’s representative regarding matters not relevant to Plaintiff’s claim, including matters

which Plaintiff has specifically disavowed. Those topics, and Better NOI’s specific objections to

them, are as follows:

       Topic D: Any state licenses that Better NOI, maintains in regard to its business.

       Better NOI objects to this topic because the state licenses that it maintains are completely

irrelevant to Plaintiff’s claims. Plaintiff’s claims against Better NOI rests on whether Better NOI

is considered a “debt collector” as that term is defined under the FDCPA. To the extent that

Plaintiff wants to know information related to any debt collection agency license, which would be

relevant to Plaintiff’s claims, Better NOI’s representative can be prepared to testify as to that

information. However, Better NOI does not maintain debt collection agency licenses, as it is not

a debt collector. Other licensing information is completely irrelevant and not narrowly tailored to

the claims at issue.

       Topic G:         For the years 2011 through 2017, the amount of money transferred

between the accounts of Better NOI and Rent Recover, LLC.

       Better NOI objects to this topic because this information is irrelevant to any of Plaintiff’s

claims. As Plaintiff noted in his opposition to Better NOI’s Motion to Dismiss, the Seventh Circuit



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applies an agency analysis under which the principal can be held liable for the acts of its collection

agents. As the Seventh Circuit stated, “a debt collector who is independently obliged to comply

with the [FDCPA]” is required “to monitor the actions of those it enlists to collect on its

behalf.” Janetos, 825 F.3d at 325. The amount of money transferred between the accounts of

Better NOI and Rent Recover, LLC, if any, would not cause Better NOI to be regulated as a debt

collector under the FDCPA. This information appears to relate to a corporate veil piercing theory

(i.e., commingling of funds or assets or one corporation treating the assets of another corporation

as its own), which Plaintiff has affirmatively rejected.

       Topic H:         For the years 2011 through 2017, the amount of money transferred

between the accounts of Better NOI and Rent Recover, LLC.

       Better NOI objects to this topic for the same reasons it objects to Topic G.

       Topic L.      Rent Recover NOI LLC’s corporate structure, including any winding up

of the company, its assets and liabilities.

       Better NOI objects to this topic because the dissolution of Rent Recover is not relevant to

the claims asserted by Plaintiff in her Complaint. Again, Plaintiff’s claims against Better NOI

rests on whether Better NOI is considered a debt collector. Better NOI’s knowledge about Rent

Recover’s winding up and assets and liabilities is not relevant to the agent analysis under

Janetos. Furthermore, such information is not within Better NOI’s corporate knowledge.

       Topic M.       Rent Recover LLC’s corporate structure, including any winding up of

the company, its assets and liabilities.

       Better NOI objects to this topic for the same reasons Defendant objects to Topic L.




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                                         CONCLUSION

       Based on the foregoing, there is good cause shown to enter a protective order, whereby this

Court shall prohibit the Defendant’s corporate representative to testify to the topics listed above.


DATED this 8th day of October, 2018.                  Respectfully Submitted,


                                                      /s/ Stephanie A. Strickler
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 8, 2018, a true and correct copy of the foregoing was filed

with the Clerk of the Court using the CM/ECF system, which will provide notice to all counsel or

record.



                                                /s/ Stephanie A. Strickler
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